Case 3:15-cv-01749-JO-AGS Document 723-2 Filed 07/16/21 PageID.34555 Page 1 of 10




   1 ROBBINS LLP
     GEORGE C. AGUILAR (126535)
   2 gaguilar@robbinsllp.com
     MICHAEL J. NICOUD (272705)
   3 mnicoud@robbinsllp.com
     JACOB W. OGBOZO (292177)
   4 jogbozo@robbinsllp.com
   5 5040 Shoreham Place
     San Diego, CA 92122
   6 Telephone: (619) 525-3990
     Facsimile: (619) 525-3991
   7
     Attorneys for Plaintiffs Joshua
   8 Ebright, Paul Lee, and David Rinaldi
   9
 10                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF CALIFORNIA
 11
 12 PERSIAN GULF INC., Individually         Case No. 3:15-cv-01749-TWR-AGS
    and on Behalf of All Others Similarly
 13 Situated,                               CLASS ACTION
 14                        Plaintiffs,      DECLARATION OF GEORGE C.
                                            AGUILAR IN SUPPORT OF THE
 15                                         PARTIES' JOINT MOTION TO FILE
            v.
 16                                         DOCUMENTS UNDER SEAL
    BP WEST COAST PRODUCTS LLC,
 17 et al.,                             Judge:        Hon. Todd W. Robinson
                                        Courtroom: 3A
 18                      Defendants.
 19
    RICHARD BARTLETT, et al., on        Lead Case No. 3:18-cv-01374-TWR-AGS
 20 Behalf of Themselves and All Others (Consolidated with Case No. 3:18-cv-
    Similarly Situated,                 01377-TWR-AGS)
 21
 22                     Plaintiffs,     CLASS ACTION

 23         v.
 24 BP WEST COAST PRODUCTS LLC,
    et al.,
 25
 26                 Defendants.
 27
 28
Case 3:15-cv-01749-JO-AGS Document 723-2 Filed 07/16/21 PageID.34556 Page 2 of 10




   1        I, GEORGE C. AGUILAR, declare as follows:
   2        1.     I am an attorney duly licensed to practice before all of the courts of the State
   3 of California and this Court. I am a partner with the law firm Robbins LLP, counsel of
   4 record for plaintiffs Joshua Ebright, Paul Lee, and David Rinaldi. I make this declaration
   5 in support of the parties' Joint Motion to File Documents Under Seal ("Joint Motion" or
   6 "Jnt. Mot."). I have personal knowledge of the matters stated herein and, if called upon,
   7 I could and would competently testify thereto. I further make this declaration on behalf
   8 of all plaintiffs and their counsel—Persian Gulf, Inc., Ebright, Lee, and Rinaldi
   9 (collectively "Plaintiffs")—in the above-entitled coordinated proceedings.
 10         2.     Plaintiffs request the Court seal certain material in briefs and evidence filed
 11 pursuant to the March 16, 2021 Order Granting Joint Motion and Stipulation RE
 12 Protocols for Motions for Summary Judgment and Daubert Motions. See No. 15-cv-
 13 01749, Dkt. No. 589; No. 18-cv-01374, Dkt. No. 436.
 14         3.     Plaintiffs' request is made pursuant to the April 5, 2021 Order Granting
 15 Joint Motion and Stipulation to Amend Sealing Procedures. See No. 15-cv-01749, Dkt.
 16 No. 638; No. 18-cv-01374, Dkt. No. 479.
 17         4.     As reflected in the below chart (listed in chronological order of filing), the
 18 purpose of this Declaration is to specifically identify and describe the documents or
 19 portions of documents that Plaintiffs request the Court to seal.
 20         5.     Certain material that Plaintiffs request to be sealed is contained in
 21 documents marked as "Confidential - For Counsel Only" under the Protective Order in
 22 this case (see No. 15-cv-01749, Dkt. No. 184; No. 18-cv-01374, Dkt. No. 95) and the
 23 substance of that material aligns with the type of material that certain fact declarants, as
 24 established by this Joint Motion and the accompanying Declaration of Dawn Sestito in
 25 Support of Joint Motion to File Documents Under Seal, declare and state as confidential
 26 and proprietary to their employer, therefore satisfying the compelling-reasons standard.
 27         6.     Further, Plaintiffs request that the Court seal certain documents and
 28 information marked as "Confidential" and "Confidential - For Counsel Only" under the

                                                 -1-
Case 3:15-cv-01749-JO-AGS Document 723-2 Filed 07/16/21 PageID.34557 Page 3 of 10
Case 3:15-cv-01749-JO-AGS Document 723-2 Filed 07/16/21 PageID.34558 Page 4 of 10
Case 3:15-cv-01749-JO-AGS Document 723-2 Filed 07/16/21 PageID.34559 Page 5 of 10
Case 3:15-cv-01749-JO-AGS Document 723-2 Filed 07/16/21 PageID.34560 Page 6 of 10
Case 3:15-cv-01749-JO-AGS Document 723-2 Filed 07/16/21 PageID.34561 Page 7 of 10
Case 3:15-cv-01749-JO-AGS Document 723-2 Filed 07/16/21 PageID.34562 Page 8 of 10
Case 3:15-cv-01749-JO-AGS Document 723-2 Filed 07/16/21 PageID.34563 Page 9 of 10
Case 3:15-cv-01749-JO-AGS Document 723-2 Filed 07/16/21 PageID.34564 Page 10 of 10
